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AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                           (8611)

                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA
        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                  V.                                      (For Revocation of Probation or Supervised Release)

        KENNETH TAIWON MOORE                              CASE NUMBER: 2:06-CR-00176-007
        aka D-Mo, aka Twon                                USM NUMBER: 09550-003

THE DEFENDANT:                                            Arthur J. Madden III, Esquire
                                                          Defendant's Attorney

X      admitted guilt to violation of supervision conditions: two statutory conditions as set forth in
the petition dated 3/26/2013.
       was found in violation of supervision condition:
                                                                        Date violation
Violation Number                    Nature of Violation                  Occurred
Statutory                           New Offense                         03/22/2013
Statutory                           New Offense                         03/17/2013

      The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

       The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.



Defendant's Social Security No. 4272                       September 17, 2014
                                                           Date of Imposition of Judgment
Defendant's Date of Birth: 1979
                                                           /s/ Callie V. S. Granade
Defendant's Residence Address:                             UNITED STATES DISTRICT JUDGE
Selma, AL
__________________________
                                                           September 19, 2014
Defendant's Mailing Address:
                                                           Date
___________________________
___________________________
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                                                                                                 Judgment 2

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment

Defendant: KENNETH TAIWON MOORE, a/k/a D-Mo, a/k/a Twon
Case Number: 2:06-CR-00176-007

                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THIRTY-SIX (36) MONTHS as to Count 1 and TWENTY-FOUR
(24) MONTHS as to Count 2. Said terms are to run concurrently with each other, but
consecutively to any custody sentence imposed in the state case that is related to the same conduct
charged in the petition.



        The court makes the following recommendations to the Bureau of Prisons:


X       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at .m. on        .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
                before 2 p.m. on      .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:

__________________________________________________________________________________

__________________________________________________________________________________

__________________________________________________________________________________

Defendant delivered on                          to                                     at __________________

with a certified copy of this judgment.
                                                                          UNITED STATES MARSHAL


                                                                      By _________________________________
                                                                             Deputy U.S. Marshal
